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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                        )   Civil Action No. 19-cv-6415
 AARON MCCLENON, et al.,                                )
                                                        )
                               Petitioners,             )
 v.                                                     )
                                                        )
 POSTMATES INC.,                                        )
                                                        )
                               Respondent.              )
                                                        )

                         PETITION TO COMPEL ARBITRATION

       Petitioners file this Petition to Compel Arbitration against Respondent Postmates Inc. as

follows:

                                NATURE OF THE PETITION

       1.      Petitioners are 200 Postmates couriers who seek to arbitrate individual claims

against Postmates for misclassifying them as independent contractors instead of employees.

Petitioners contend that in misclassifying them, Postmates has violated the Fair Labor Standards

Act, 29 U.S.C. §§ 206–07, and related Illinois and local laws.

       2.      Petitioners’ employment agreement with Postmates—the “Fleet Agreement”—

contains a sweeping arbitration provision. That provision explicitly covers any dispute regarding

couriers’ classification as independent contractors. It also requires Postmates to pay the fees and

costs necessary to commence arbitration.

       3.      On May 13, 2019, in accordance with the Fleet Agreement, each Petitioner served

a demand for individual arbitration on Postmates and the American Arbitration Association

(“AAA”).

       4.      On May 16, 2019, AAA determined that each Petitioner had met the requirements
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to initiate arbitration with AAA, and it imposed a deadline of June 6, 2019, for Postmates to pay

the filing fees necessary to commence individual arbitrations of Petitioners’ claims.

        5.     Postmates did not make any payment by that deadline.

        6.     AAA imposed a second, final deadline of June 13, 2019 for Postmates to pay its

fees.

        7.     Postmates did not make any payment by that deadline.

        8.     On June 21, 2019, AAA sent an email to Postmates’s and Petitioners’ counsel

(1) confirming that each Petitioner’s demand complied in all respects with AAA’s requirements,

and (2) closing each Petitioner’s case due to Postmates’s lack of payment.

        9.     Postmates’s refusal to pay the filing fees it owes violates the Fleet Agreement and

has prevented Petitioners from accessing the forum in which they may raise their claims.

        10.    Petitioners file this Petition to require Postmates to abide by the terms of its own

Fleet Agreement.

                                            PARTIES

        11.    Petitioners are Postmates couriers who worked in Illinois.        Details for each

Petitioner are listed in Exhibit A.

        12.    Respondent is a Delaware corporation headquartered at 201 Third Street, Suite 200,

San Francisco, California 94103.

                                 JURISDICTION AND VENUE

        13.    This Court has jurisdiction over this action pursuant to 9 U.S.C. § 4 and 28 U.S.C.

§§ 1331 and 1367 because the underlying controversy involves claims arising under federal law.

        14.    This Court has personal jurisdiction over Postmates because the employment

agreements between Postmates and Petitioners were executed in Illinois, and Postmates conducts




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substantial business in Illinois that gives rise to Petitioners’ claims.

        15.     Venue is proper in this district pursuant to 9 U.S.C. § 4 and 28 U.S.C. § 1391(b)

because a substantial part of the of the events and omissions complained of occurred in this district.

                                          BACKGROUND

        16.     Postmates is an on-demand delivery service through which customers may order

food and other items from participating merchants for delivery. Postmates pays couriers to make

those deliveries.

        17.     Petitioners are Postmates couriers whom Postmates has misclassified as

independent contractors rather than employees, in violation of federal, state, and local law.

        18.     Postmates’s Fleet Agreement requires that all parties to the agreement arbitrate any

claim arising from the agreement in accordance with AAA’s procedures and rules. See, e.g., Fleet

Agreement, Ex. B. The agreement further requires that arbitrations be conducted individually; it

does not permit any class or consolidated proceedings.

        19.     Postmates has enforced this broad arbitration agreement to preclude couriers from

filing misclassification claims against it in court. See, e.g., Lee v. Postmates Inc., No. 18-cv-3421,

2018 WL 4961802 (N.D. Cal. Oct. 15, 2018) (granting Postmates’s motion to compel a courier’s

misclassification claim to arbitration because the courier “validly consented to the Fleet

Agreement and its arbitration provision”).

        20.     On March 6, 2019, Petitioners’ counsel informed Postmates that Petitioners and

other Postmates couriers planned to file demands for arbitration to recover backpay and related

penalties Petitioners are owed for Postmates’s unlawful misclassification.

        21.     Petitioners’ counsel offered to discuss resolving Petitioners’ claims in an alternative

manner, such as through mediation, but the parties could not agree on such an alternative.




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        22.       Pursuant to Postmates’s Fleet Agreement, on May 13, 2019, Petitioners’ counsel

served demands for individual arbitration on Postmates and AAA on behalf of Petitioners. AAA

determined that each Petitioner’s demand met AAA’s filing requirements.

        23.       It is AAA’s practice and policy not to commence any arbitration until the filing fees

are fully paid.

        24.       Under the applicable Fleet Agreement, Postmates is required to pay Petitioners’

arbitration filing fees.

        25.       On May 16, 2019, in accordance with the Fleet Agreement, AAA set June 6, 2019

as the deadline for Postmates to pay the filing fees necessary to commence arbitration for

Petitioners’ demands.

        26.       Postmates did not pay the filing fees by June 6, 2019, prompting AAA to set June

13, 2019 as Postmates’s final deadline for payment. Postmates again failed to pay the filing fees

by that deadline.

        27.       On June 21, 2019, AAA sent an email to Postmates’s and Petitioners’ counsel

(1) confirming that each Petitioner’s demand complied in all respects with AAA’s requirements,

and (2) closing each Petitioner’s case due to Postmates’s lack of payment.

        28.       Each Petitioner entered into an agreement with Postmates requiring that the parties

arbitrate the issue of whether Petitioners are independent contractors or employees.

        29.       Each Petitioner and Postmates further agreed that the parties must arbitrate any

threshold issues about the arbitrability of their disputes.

        30.       Postmates has failed to comply with that arbitration agreement because it has

refused to pay the filing fees it owes under the agreement—fees that are necessary for Petitioners

to begin their arbitrations.




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       31.    Accordingly, this Court should compel Postmates to arbitrate under 9 U.S.C. § 4.

                                   PRAYER FOR RELIEF

WHEREFORE, Petitioners respectfully request that this Court enter an Order requiring that:

              a. Within 14 days of receiving an invoice from AAA, Postmates must pay all

                  arbitration filing fees and arbitrator retainers necessary to proceed with each

                  Petitioner’s demand for arbitration; and

              b. Postmates must pay any subsequent AAA invoices related to Petitioners’

                  arbitrations within 14 days of receiving those invoices.



       Dated: September 26, 2019                    Respectfully submitted,

                                                    /s/ Ashley Keller
                                                    Ashley Keller (#6300171)
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                                                    Travis Lenkner (#6311545)
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                                                    (312) 741-5220

                                                    Attorneys for Petitioners




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                                CERTIFICATE OF SERVICE

       I certify that I shall cause the foregoing document to be delivered on or around September

27, 2019 by courier to Postmates Inc.’s registered agent for service of process: CT Corporation,

208 South LaSalle Street, Suite 814, Chicago, Illinois 60604.

       Dated: September 26, 2019                    /s/ Ashley Keller
